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                                                             AMAZON.COM, INC.
                                                          14
                                                          15                        UNITED STATES DISTRICT COURT
                                                          16                       CENTRAL DISTRICT OF CALIFORNIA
                                                          17                      (WESTERN DIVISION – LOS ANGELES)
                                                          18
                                                             GRANT MCKEE, individually and on               Case No.: 2:17-cv-01941 GW(Ex)
                                                          19 behalf of all others similarly situated,
                                                                                                            [PROPOSED] ORDER
                                                          20                  Plaintiff,                    GRANTING DEFENDANTS’
                                                                                                            MOTION TO COMPEL
                                                          21           v.                                   ARBITRATION AND DISMISS
                                                                                                            CLAIMS
                                                          22 AUDIBLE, INC. and AMAZON.COM,
                                                             INC.,                                          Date:      May 4, 2017
                                                          23                                                Time:      8:30 AM
                                                                         Defendants.                        Crtm:      9D
                                                          24                                                Judge:     George H. Wu
                                                                                                            Trial Date:NONE SET
                                                          25
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                                                          27
                                                          28
                                                                [PROPOSED] ORDER GRANTING
                                                                MTN TO COMPEL ARBITRATION               1      Case No. 2:17-cv-1941 GW(Ex)
                                                               FW/9519981.1
                                                    Case 2:17-cv-01941-GW-E Document 18-14 Filed 04/05/17 Page 2 of 2 Page ID #:160



                                                          1            Having considered the Motion to Compel Arbitration and Dismiss Claims of
                                                          2 Defendants Audible, Inc. and Amazon.com, Inc. (“Defendants”), the Court
                                                          3 GRANTS Defendants’ Motion to Compel Arbitration in its entirety, and it hereby
                                                          4 ORDERS that Plaintiff Grant McKee arbitrate his claims against Defendants in an
                                                          5 individual arbitration, consistent with the parties’ agreement. This Court also
                                                          6 DISMISSES this action, including the claims for class-based relief, with prejudice.
                                                          7            IT IS SO ORDERED.
                                                          8
                                                          9 Dated:                         , 2017
                                                          10
                                                          11
                                                                                                     The Honorable George H. Wu
                                                          12
F ENWICK & W EST LLP




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                       ATTORNEYS AT LAW
                                          MOUNTAIN VIEW




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                                                                [PROPOSED] ORDER GRANTING
                                                                MTN TO COMPEL ARBITRATION               2      Case No. 2:17-cv-1941 GW(Ex)
                                                               FW/9519981.1
